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January 29, 2025


By ECF

The Honorable Richard F. Boulware, II
United States District Judge
U.S. District Court for the District of Nevada
333 Las Vegas Boulevard South
Las Vegas, NV 89101

Re:     Cung Le, et al. v. Zuffa, LLC, Case No. 15-cv-01045 (D. Nev.)

Dear Judge Boulware:

We write on behalf of Defendant Zuffa, LLC (“Zuffa”). As previously stated in my letter dated
December 19, 2024 (Dkt. 1054), Zuffa complied with its requirements under the Class Action
Fairness Act of 2005 by mailing the materials identified by 28 U.S.C. § 1715(b) to the
appropriate state and federal officials on October 16, 2024. However, as described in the same
letter, the package of materials mailed to the Attorney General of Wisconsin was returned to the
New York mail room of our firm on December 11 or 12, 2024. See Dkt. 1054. We re-mailed
those materials on December 16, 2024. See id.

On January 23, 2025, the package of materials mailed to the Attorney General of Wisconsin was
again returned to the New York mail room of our firm. See Ex. A (Affidavit of Service) ¶ 2. We
were notified of the returned mailing on January 27, 2025. After investigating the cause of the
issue, we caused the materials to again be re-mailed to the Attorney General of Wisconsin on
January 29, 2025. See Ex. A ¶¶ 4-7.

Please contact us if you have any questions or would like any additional information.

Respectfully submitted,

/s/ William A. Isaacson
William A. Isaacson

Attorney for Defendant Zuffa, LLC, d/b/a
Ultimate Fighting Championship and UFC LLC


cc:     Counsel of Record (via ECF)
